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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:
                                                  Chapter 11
TONOPAH SOLAR ENERGY, LLC,                        Case No. 20-11884 (KBO)
                        Debtor.



               NOTICE OF ORAL AND VIDEO DEPOSITION OF JUSTIN PUGH

         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil Procedure,

made applicable by Rules 9014 and 7030 of the Federal Rules of Bankruptcy Procedure,

undersigned counsel will take the oral and video deposition of Justin Pugh on behalf of Debtor

Tonopah Solar Energy, LLC, relating to the contested matter arising from the confirmation of the

Amended Chapter 11 Plan for Tonopah Solar Energy, LLC [ECF No. 148] and the Limited

Objection to Amended Chapter 11 Plan for Tonopah Solar Energy, LLC [ECF No. 221],

commencing on Thursday, November 19, 2020, at 10:00 a.m. (EST). The deposition will be

conducted via virtual deposition services, or via other remote means agreed upon by the parties.

         This deposition will be recorded stenographically and may be video recorded. The

stenographic recording will be taken by a certified court reporter or before some other officer

authorized by law to administer oaths. The oral examination shall continue from day to day until




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completed.
Dated: November 18, 2020                  Respectfully submitted,


                                          LEWIS BRISBOIS BISGAARD & SMITH LLP


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this 18th day of November 2020, a copy of the

foregoing document was served upon counsel of record via CM/ECF.

                                            /s/ Cheneise V. Wright
                                            Cheneise V. Wright
                                            Del. Bar No. 6597




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